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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

 GOVERNMENT OF THE UNITED
 STATES VIRGIN ISLANDS,

                       Plaintiff,

 v.                                                Case No. 22-cv-10904 (JSR)

 JP MORGAN CHASE BANK, N.A.,

                       Defendant.




               DECLARATION OF FELICIA H. ELLSWORTH
      IN SUPPORT OF JPMORGAN CHASE BANK, N.A.’S OPPOSITION TO
           USVI’S MOTION TO STRIKE AFFIRMATIVE DEFENSES

Pursuant to 28 U.S.C. § 1746, I, Felicia H. Ellsworth, declare under penalty of perjury as

follows:

 1.    I am a member in good standing of the bar of the Commonwealth of Massachusetts. I

       am one of the attorneys representing Defendant JPMorgan Chase Bank, N.A.

       (“JPMC”) in the above-captioned action and have been admitted to this Court pro hac

       vice. I am a Partner with the law firm of Wilmer Cutler Pickering Hale and Dorr

       LLP, 60 State Street, Boston, Massachusetts 02109. I am familiar with the facts set

       forth herein, and if called as a witness, I could and would competently testify thereto.

 2.    Attached as Exhibit 1 is a true and correct copy of a document produced by the Estate

       of Jeffrey Epstein, Bates stamped ESTATE_JPM020484, designated confidential

       pursuant to the Protective Order in this matter and filed under seal.

 3.    Attached as Exhibit 2 is a true and correct copy of a document produced by the Estate

       of Jeffrey Epstein, Bates stamped ESTATE_JPM015326, designated confidential

       pursuant to the Protective Order in this matter and filed under seal.




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4.    Attached as Exhibit 3 is a true and correct copy of a document produced by the Estate

      of Jeffrey Epstein, Bates stamped ESTATE_JPM015321, designated confidential

      pursuant to the Protective Order in this matter and filed under seal.

5.    Attached as Exhibit 4 is a true and correct copy of an article titled “Former DPNR

      Commissioner says territory must learn from Epstein's legacy,” dated February 18,

      2020, available at http://www.virginislandsdailynews.com/news/former-dpnr-

      commissioner-says-territory-must-learn-from-epsteins-legacy/article_cedaf725-3eeb-

      5cf7-8499-09b4c0e37eae.html.

6.    Attached as Exhibit 5 is a true and correct copy of an article titled “Jeffrey Epstein’s

      donations to young pupils prompts US Virgin Islands review,” dated January 13,

      2015, available at https://www.theguardian.com/us-news/2015/jan/13/jeffrey-epstein-

      donations-us-virgin-islands-review.

7.    Attached as Exhibit 6 is a true and correct copy of a document produced by the Estate

      of Jeffrey Epstein, Bates stamped ESTATE_JPM016517, designated confidential

      pursuant to the Protective Order in this matter and filed under seal.

8.    Attached as Exhibit 7 is a true and correct copy of a document produced by the Estate

      of Jeffrey Epstein, Bates stamped ESTATE_JPM016246, designated confidential

      pursuant to the Protective Order in this matter and filed under seal.

9.    Attached as Exhibit 8 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000006066, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

10.   Attached as Exhibit 9 is a true and correct copy of a document produced by the Estate

      of Jeffrey Epstein, Bates stamped ESTATE_JPM025237, designated confidential

      pursuant to the Protective Order in this matter and filed under seal.



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11.   Attached as Exhibit 10 is a true and correct copy of excerpts of the transcript of the

      May 9, 2023 deposition of Stacey E. Plaskett.

12.   Attached as Exhibit 11 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM012219, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

13.   Attached as Exhibit 12 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015885, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

14.   Attached as Exhibit 13 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015674, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

15.   Attached as Exhibit 14 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM016163, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

16.   Attached as Exhibit 15 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015950, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

17.   Attached as Exhibit 16 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM012505, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

18.   Attached as Exhibit 17 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015733, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.




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19.   Attached as Exhibit 18 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM016245, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

20.   Attached as Exhibit 19 is a true and correct copy of an article titled “V.I. files lawsuit

      against JP Morgan in Epstein case while ignoring local pols who benefited,” dated

      February 14, 2023, available at http://www.virginislandsdailynews.com/opinion/v-i-

      files-lawsuit-against-jp-morgan-in-epstein-case-while-ignoring-local-pols-

      who/article_17b3cbb1-448b-52b4-a19a-d1b62d7f44d6.html.

21.   Attached as Exhibit 20 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM016303, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

22.   Attached as Exhibit 21 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015672, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

23.   Attached as Exhibit 22 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM024203, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

24.   Attached as Exhibit 23 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM024371, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

25.   Attached as Exhibit 24 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM024927, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.




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26.   Attached as Exhibit 25 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM024548, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

27.   Attached as Exhibit 26 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM024549, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

28.   Attached as Exhibit 27 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM022970, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

29.   Attached as Exhibit 28 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM016210, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

30.   Attached as Exhibit 29 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015655, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

31.   Attached as Exhibit 30 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015854, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

32.   Attached as Exhibit 31 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM021989, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

33.   Attached as Exhibit 32 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM023608, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.




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34.   Attached as Exhibit 33 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM022393, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

35.   Attached as Exhibit 34 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM016066, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

36.   Attached as Exhibit 35 is a true and correct copy of a document produced by the

      Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM022997, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

37.   Attached as Exhibit 36 is a true and correct copy of an article titled “Epstein estate

      could be ordered to repay more than $144 million in tax breaks,” dated February 13,

      2020, available at http://www.virginislandsdailynews.com/news/epstein-estate-could-

      be-ordered-to-repay-more-than-144-million-in-tax-breaks/article_b84d9710-14af-

      5e69-a890-bcf8265cf8f9.html.

38.   Attached as Exhibit 37 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000019063, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

39.   Attached as Exhibit 38 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000017983, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

40.   Attached as Exhibit 39 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-




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      000012922, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

41.   Attached as Exhibit 40 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000012885, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

42.   Attached as Exhibit 41 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000012850, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

43.   Attached as Exhibit 42 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000012816, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

44.   Attached as Exhibit 43 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000012722, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

45.   Attached as Exhibit 44 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000012689, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

46.   Attached as Exhibit 45 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-




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      000012630, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

47.   Attached as Exhibit 46 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000012940, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

48.   Attached as Exhibit 47 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000012743, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

49.   Attached as Exhibit 48 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000013335, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

50.   Attached as Exhibit 49 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000013219, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

51.   Attached as Exhibit 50 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000013122, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

52.   Attached as Exhibit 51 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-




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      000013087, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

53.   Attached as Exhibit 52 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000012996, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

54.   Attached as Exhibit 53 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000018005, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

55.   Attached as Exhibit 54 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000007315, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

56.   Attached as Exhibit 55 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000007407, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

57.   Attached as Exhibit 56 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-

      000007474, designated confidential pursuant to the Protective Order in this matter and

      filed under seal.

58.   Attached as Exhibit 57 is a true and correct copy of a document produced by Plaintiff

      the Government of the United States Virgin Islands, Bates stamped VI-JPM-




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       000007534, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

59.    Attached as Exhibit 58 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000007588, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

60.    Attached as Exhibit 59 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000007663, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

61.    Attached as Exhibit 60 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000013479, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

62.    Attached as Exhibit 61 is a true and correct copy of a document produced by Marks

       Paneth LLP and reproduced by Plaintiff the Government of the United States Virgin

       Islands, Bates stamped MP-00001858, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

63.    Attached as Exhibit 62 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000023078, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

64.    Attached as Exhibit 63 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-




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       000023091, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

65.    Attached as Exhibit 64 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM011964, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

66.    Attached as Exhibit 65 is a true and correct copy of excerpts of the transcript of the

       May 17, 2023 deposition of Sandra Bess, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

67.    Attached as Exhibit 66 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015014, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

68.    Attached as Exhibit 67 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000022897, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

69.    Attached as Exhibit 68 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000016206, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

70.    Attached as Exhibit 69 is a true and correct copy of an article titled “Jeffrey Epstein

       case threatens to drag Virgin Islands elite into the muck. Will it matter?,” dated

       February 14, 2020, available at https://www.miamiherald.com/news/nation-

       world/world/americas/article240300016.html.




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71.    Attached as Exhibit 70 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM018432, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

72.    Attached as Exhibit 71 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000017233, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

73.    Attached as Exhibit 72 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000016492, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

74.    Attached as Exhibit 73 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM016160, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

75.    Attached as Exhibit 74 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM019854, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

76.    Attached as Exhibit 75 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM022238, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

77.    Attached as Exhibit 76 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000064950, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.




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78.    Attached as Exhibit 77 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM024492, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

79.    Attached as Exhibit 78 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM025219, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

80.    Attached as Exhibit 79 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM016427, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

81.    Attached as Exhibit 80 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM025221, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

82.    Attached as Exhibit 81 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM025227, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

83.    Attached as Exhibit 82 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000012237, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

84.    Attached as Exhibit 83 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000012446, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

85.    Attached as Exhibit 84 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-



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       000087823, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

86.    Attached as Exhibit 85 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000012395, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

87.    Attached as Exhibit 86 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000012328, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

88.    Attached as Exhibit 87 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000088062, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

89.    Attached as Exhibit 88 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000088093, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

90.    Attached as Exhibit 89 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000086731, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

91.    Attached as Exhibit 90 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-




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       000086752, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

92.    Attached as Exhibit 91 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000087016, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

93.    Attached as Exhibit 92 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000064833, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

94.    Attached as Exhibit 93 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000080855, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

95.    Attached as Exhibit 94 is a true and correct copy of a document produced by Plaintiff

       the Government of the United States Virgin Islands, Bates stamped VI-JPM-

       000012616, designated confidential pursuant to the Protective Order in this matter and

       filed under seal.

96.    Attached as Exhibit 95 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM025196, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

97.    Attached as Exhibit 96 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM024114, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.




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98.    Attached as Exhibit 97 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM020206, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

99.    Attached as Exhibit 98 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM024119, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

100. Attached as Exhibit 99 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM024130, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

101. Attached as Exhibit 100 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM020983, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

102. Attached as Exhibit 101 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM023450, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

103. Attached as Exhibit 102 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM021434, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

104. Attached as Exhibit 103 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015784, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

105. Attached as Exhibit 104 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015122, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.




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106. Attached as Exhibit 105 is a true and correct copy of an article titled “Where Is

     Jeffrey Epstein’s Money Going?,” dated January 28, 2022, available at

     https://www.nytimes.com/2022/01/28/business/jeffrey-epstein-

     estate.html#:~:text=The%20estate%20has%20paid%20%249,Court%20in%20the%20

     Virgin%20Islands.

107. Attached as Exhibit 106 is a true and correct copy of a document produced by the

     Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM023269, designated

     confidential pursuant to the Protective Order in this matter and filed under seal.

108. Attached as Exhibit 107 is a true and correct copy of a document produced by the

     Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM016129, designated

     confidential pursuant to the Protective Order in this matter and filed under seal.

109. Attached as Exhibit 108 is a true and correct copy of an article titled “‘The Girls Were

     Just So Young’: The Horrors of Jeffrey Epstein’s Private Island,” dated July 20, 2019,

     available at https://www.vanityfair.com/news/2019/07/horrors-of-jeffrey-epstein-

     private-island.

110. Attached as Exhibit 109 is a true and correct copy of a document produced by the

     Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM015782, designated

     confidential pursuant to the Protective Order in this matter and filed under seal.

111. Attached as Exhibit 110 is a true and correct copy of a document produced by the

     Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM016521, designated

     confidential pursuant to the Protective Order in this matter and filed under seal.

112. Attached as Exhibit 111 is a true and correct copy of a document produced by the

     Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM024879, designated

     confidential pursuant to the Protective Order in this matter and filed under seal.




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 113. Attached as Exhibit 112 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM016458, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

 114. Attached as Exhibit 113 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM025693, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

 115. Attached as Exhibit 114 is a true and correct copy of a document produced by the

       Estate of Jeffrey Epstein, Bates stamped ESTATE_JPM022234, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

true and correct.

 Dated: May 23, 2023                            /s/ Felicia Ellsworth
                                                Felicia H. Ellsworth




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